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Gov. Ex. 70
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Ex. 70, p. 1 of 3
Ex. 70, p. 2 of 3
Ex. 70, p. 3 of 3
Gov. Ex. 71
From:         Bob Brockman [bob_bmcman@eyeymm]
Sent:         10/I1/20191:04:3IPK8
To:           'Moss, Craig'[Craig_Moss@reyrey.com];'Moss, Craig'[Craig_Moss@reyrey.com]




We need to have minutes of the board of Directors of the companies that have lots of cash on hand — as follows.

It is our standard policy to accumulate earnings internally so as to have funds available for purchase of attractive
acquisition opportunities.

Additionally it appears that the new vehicle sales are slowing as part of the typical historical sales cycles in the
dealership industry.

The financial news indicates that a recession is potentially coming up soon.

Therefore the board of directors is declaring this as an additional reason to accumulate funds rather than adopt a policy
of making dividends.

These steps are necessary to avoid being accused of accumulations of earnings.

Please let me see the draft of this document before it is circulated for signing by Al Draton and myself.

Bob




                                                                                                           GOVERNMENT
                                                                                                             EXHIBIT

                                                                                                          4:21-CR-009-GCH
                                                                                                                No. 71



                                                                                                                       CK8'00026581

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Gov. Ex. 73
Message
From:          tommy_barras@reyrey.com [tommy_barras@reyrey.com]
Sent:          8/14/2020 6:24:46 AM
To:            Craig Moss [Craig_Moss@ReyRey.com]
Subject:       Resolutions
Attachments:   HPSCAN20200813232043361.pdf


Craig

Rob signed — Bob was not able to get to Al's last night(no driving at night). Bob planning on getting
Al to sign this morning.

Can you prepare Wires in advance..?          I will shake on Bob early to get signed docs to you so we can
execute wires today

Tommy




                                                                                             GOVERNMENT
                                                                                               EXHIBIT

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                                                                                                   CM-00016846

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   Brockman 2019
 Reynolds & Reynolds
       Speech



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                                    EXHIBIT

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               EXHIBIT 77A

   Brockman 2019
 Reynolds & Reynolds
       Speech
                     Ex. 77 timestamp:
                     1:15:50 to 1:18:55


                                           GOVERNMENT
                                             EXHIBIT

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